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                          EXHIBIT A
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

  MICHAEL BOWMAN, individually
  and on behalf of all others similarly         Case No. 17-cv-11630-NGE
  situated,
                                                Hon. Nancy G. Edmunds
                             Plaintiff,
  v.                                            Mag. R. Steven Whalen

  ART VAN FURNITURE, INC., a
  Michigan corporation,

                             Defendant.


  DECLARATION OF ATTORNEY STEVEN L. WOODROW IN SUPPORT
  OF MOTION FOR AN AWARD OF REASONABLE ATTORNEYS’ FEES
        AND REIMBURSEMENT OF EXPENSES AND CLASS
             REPRESENTATIVE INCENTIVE AWARD

        I, Steven L. Woodrow, declare as follows:

        1.     I am over the age of eighteen (18) and am one of the attorneys for the

  Plaintiff in this matter. I make this declaration in support of Plaintiff’s Motion for

  an Award of Reasonable Attorneys’ Fees and Reimbursement of Expenses and

  Class Representative Incentive Award in connection with the class action

  Settlement Agreement reached in the above-captioned litigation against Art Van

  furniture (“Defendant” or “Art Van”).




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        2.     I am able to competently testify to the matters set forth herein if called

  upon to do so. I make the following statements based upon my own personal

  knowledge and based on facts learned before and during the litigation of this case.

  Class Counsel’s Pre-Suit Investigation and Early Litigation

        3.     This case began when Plaintiff Michael Bowman (“Plaintiff” or

  “Bowman”) reached out to attorneys working with Class Counsel. From there, my

  firm, Woodrow & Peluso, LLC, conducted an extensive investigation into Art Van

  and its making of what appeared to be telemarketing calls to consumers. The

  investigation included reviewing and analyzing publically available information

  regarding Art Van and its operations as well as its marketing activities. This

  included extensive research regarding Art Van’s telemarketing operations and its

  promotion of VIP sales events on social media.

        4.     Additionally, Class Counsel interviewed Plaintiff Bowman regarding

  the nature and frequency of the calls as well as his experience with Art Van.

  Through these interviews, Plaintiff provided key information regarding Art Van’s

  calls that helped to establish a factual basis for the lawsuit. Indeed, Bowman had

  preserved recordings of the calls which proved to be instrumental.

        5.     Based on this in-depth investigation and the information provided by

  Plaintiff Bowman, we had a good faith basis for concluding that Art Van used a

  pre-recorded voice message when placing calls as part of its telemarketing



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  campaigns. We concluded based on the information available that a good faith

  basis existed for alleging that the calls constituted telemarketing because they

  encouraged the purchase of Art Van furniture by on or after the calls.

        6.     We, thereafter, set out to draft and revise the pleadings in this case

  and filed the lawsuit on behalf of Plaintiff Bowman and the nationwide class of

  similarly situated individuals on May 23, 2017.

  The Parties Commence Early Settlement Discussions

        7.     The initial Complaint, filed on behalf of Bowman and all others

  similarly situated, alleged widespread violations of the TCPA.

        8.     Following the filing of the initial Complaint, Art Van’s in-house

  counsel reached out to Class Counsel to engage in discussions regarding their

  respective views of the case. Counsel for both Parties agreed to and did exchange

  preliminary factual details about the calls and potential size of the Class. After

  counsel for Art Van was unable to locate any of Bowman’s information in its

  records, Art Van agreed to allow Plaintiff to subpoena his phone records.

        9.     Shortly thereafter, attorneys from the Detroit-based law firm of

  Dykema Gossett PLLC appeared on behalf of Art Van. Shortly after Art Van’s

  new lawyers entered the case the Parties engaged in additional fact-finding.

  Through this process it was determined that Art Van had placed calls to Bowman’s

  landline telephone and not his cellular telephone as initially believed. Armed with



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  this clarification, on July 12, 2017, Bowman filed a First Amended Complaint

  setting forth clarified facts with respect to the type of phone Bowman used when

  he received the calls.

          10.   On August 21, 2017, Dykema Gossett filed a Motion to Withdraw and

  was replaced by attorneys at the law firm of Kellogg, Hansen, Todd, Figel &

  Frederick, P.L.L.C. a prestigious law firm out of Washington D.C. Attorney Martin

  Jaszczuk of Jaszczuk PC, a specialist in TCPA class action defense (who formerly

  ran Locke Lord’s TCPA defense practice) also appeared on Art Van’s behalf.

  These are very impressive lawyers.

          11.   Shortly after, Art Van filed its Motion to Dismiss in part and Strike

  Class Allegations. This was a complex motion that raised several novel issues. Our

  firm spent a substantial amount of time researching the issues set forth in these

  dual motions and drafting a comprehensive response. Following the completion of

  the briefing, and while we were busily preparing ourselves for the oral argument,

  counsel for the Parties began discussing the potential for engaging in early

  settlement negotiations. Part of these discussions included the realization that, even

  if the litigation proved to be successful, a judgment could be worth a sum of

  money that Art Van would be unable to satisfy and could threaten thousands of

  jobs.




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        12.     With these realities in mind, counsel for the Parties agreed to engage

  in settlement discussions through a formal mediation process. Counsel exchanged

  proposed mediators and ultimately agreed to schedule a formal mediation session

  with the Honorable Morton J. Denlow (ret.) of JAMS in Chicago. Judge Denlow

  has substantial experience mediating consumer class actions in general and

  considerable experience mediating and settling large TCPA class actions in

  particular.

        13.     In preparation for the mediation session, the Parties were required to

  exchange additional information regarding their respective views of the case and a

  potential settlement. This included the preparation of Magistrate Judge Denlow’s

  detailed “checklist” of proposed terms, mediations briefs, and proposed class

  settlement terms, which contained the class definition, the type of relief, scope of

  the release, and a proposed notice plan. The Parties were also required to exchange

  critical information regarding the number of persons called, the total number of

  calls in the case, and Art Van’s calling campaigns. The Parties extensive pre-

  mediation preparations set them up for productive and meaningful negotiations.

        14.     The mediation took place in Chicago on January 18, 2018 and lasted

  the entire day. It was constructive but also, at times, contentious, with both sides

  expressing a willingness to simply return to the litigation. As a result of the

  mediation process, Class Counsel were able to better understand the size and scope



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  of the proposed classes and Art Van’s planned defenses, including its position that

  Art Van symbolizes more to the people of Detroit than simply a furniture store.

         15.    The additional information provided through the mediation process

  helped reveal that the class size was in the range of 1 million (mostly former)

  customers. Specifically, Art Van’s vendor was able to locate 1,150,000 individual

  phone numbers called during the 4-year period preceding the filing of the original

  Complaint, representing the approximate class size. Through the mediation process

  we also learned that Art Van had contracted with a third party to make the calls at

  issue in this case.

         16.    Despite productive discussions and a tenacious effort by the Parties

  and Magistrate Judge Denlow, the Parties were unable to reach an agreement in

  principle regarding the relief to be made available to the Settlement Class. We

  were simply too far apart. Instead, the Parties agreed to proceed with the

  previously scheduled hearing on Art Van’s Motion to Dismiss. Counsel for both

  Parties, however, agreed to continue settlement discussions to see if a resolution

  could be reached with Magistrate Judge Denlow’s continued oversight and

  assistance.

         17.    Thereafter, Magistrate Judge Denlow worked with the Parties to

  establish a parallel settlement track by engaging with counsel in a series of

  telephone negotiations. As a result of these negotiations, the Parties were able to



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  ultimately reach an agreement in principle with respect the class just a few days

  prior to the hearing on Art Van’s Motion to Dismiss and Motion to Strike the Class

  Allegations.

        18.      Only after an agreement in principle was reached with respect to the

  Settlement Class did the Parties discuss reasonable attorneys’ fees for proposed

  Class Counsel and an incentive award for Plaintiff Bowman.

  Parties Obtain Preliminary Approval and Notice is Issued to the Class

        19.      Following their reaching of an agreement in principle, counsel for

  both Parties worked to draft the Settlement Agreement, claim form, all notices, and

  to resolve outstanding data issues. This work included selecting a mutually

  agreeable Settlement Administrator, Epiq Systems, and working with the

  Administrator to refine and finalize the notices and to ensure the Settlement

  documents were complete.

        20.      Once the agreement was finalized and executed, Class Counsel

  worked diligently to draft the Motion in Support of Preliminary Approval, the

  accompanying memorandum in support, and to finalize all remaining Settlement

  documents. Class Counsel, thereafter, traveled to Detroit, Michigan for the hearing

  on the Motion for Preliminary Approval on July 11, 2018.

        21.      The Parties submitted a Proposed Order and, on July 23, 2018, the

  Court granted preliminary approval and ordered, inter alia, that notice to be



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  disseminated to the class.

        22.    Following the Court’s granting of preliminary approval, Class

  Counsel and Art Van’s attorneys worked to implement the Settlement Agreement.

  This included working with the Settlement Administrator to edit, finalize, and

  approve the Settlement Website, all notices, and related information. The

  Settlement Website is comprehensive, contains the entire long form notice and

  other important settlement documents, features FAQs to answer Class Member

  questions, and allows Settlement Class Members to file their claims online.

        23.    On or around August 10, 2018, the Settlement Administrator

  disseminated mail and email notice to approximately 1,259,000 Settlement Class

  Members.

        24.    Ever since the dissemination of the notice, Class Counsel’s office has

  been flooded with phone calls from Settlement Class Members seeking

  information about the Settlement as well as assistance in filing claims. The

  response has been so great that my firm has been required to hire an additional

  staff member to assist with the volume of calls. To date, Class Counsel have

  spoken with over 800 individual Settlement Class Members. These

  communications involve explaining terms and the nature of the litigation as well as

  assisting the individuals with the filing of claims. Moreover, Class Counsel will

  continue to devote a substantial amount of time and resources towards assisting



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  Settlement Class Members in filing claims through to final approval.

        25.    To date, over 25,000 claims have been filed and Settlement Class

  Members continue to reach out to Class Counsel regarding the filing of claims as

  well as to understand their legal rights under the agreement.

        26.    The $5.875 million Settlement Fund will be used to pay all approved

  claims, Administration Expenses, the Incentive Award, and the Fee Award. After

  the Administration Expenses, the Incentive Award, and the Fee Award are

  subtracted from the Settlement Fund, the amount that remains, referred to as the

  Net Settlement Fund, will then be divided by the total number of Award Units

  (which will be equal to the number of Valid Claims that are approved by the

  Court). The Award Units will be of equal value.

        27.    If the Court ultimately awards amounts from the Settlement as

  contemplated by the Agreement, with 25,000 claims filed each award unit would

  currently be worth approximately $125. This figure is inline with what class

  members have received in other TCPA settlements. (See TCPA Settlement Per

  Claimant Benefits, attached hereto as Exhibit 1.)

  Class Counsel’s Hours and Rates

        28.    After reviewing my firm’s time keeping records and consulting with

  my co-counsel and local counsel, as of the filing of this Motion, Settlement Class




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  Counsel have expended the following hours1 pursuing the claims and crafting the

  settlement of this case:

     Attorney Name/Firm          Position   Rate     Hours         Lodestar

     Steven Woodrow (WP) Partner            $440     493.7         $217,228

     Patrick Peluso (WP)         Partner    $340     461.9         $157,046

     Taylor Smith (WP)           Assoc.     $225     68.20         $15,345

     Law Clerk (WP)              Clerk      $100     15            $1,500

     Vann Ellerbruch (WP)        Sr. Clerk $200      112.46        $22,492

     Stefan Coleman              Partner    $450     81.1          $36,495

     Blake Duggar                Assoc.     $225     5.4           $1,215

     Brad Friedman               Partner    $450     105.0         $47,250

     LODESTAR                                        1,342.76      $498,571



          29.    The time spent to date is reasonable. Meaningful work was performed

  before the case was ever filed to ensure that the claims were as well positioned as

  possible. Indeed, significant time has been expended performing extensive legal

  research to ensure that the Settlement Class pursued the legal theories with the best

  chances of success. Throughout the litigation Class Counsel have been required to

  keep abreast of changes in the law, including the substantive rulings interpreting

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         Class Counsel’s time sheets are available upon request for the Court to review.


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  the TCPA directly as well as tangential issues such as developments in class action

  practice as well as Article III standing. Moreover, Class Counsel have invested

  extensive time into investigating Plaintiff’s claims, filing the Complaint, engaging

  in discovery, filing an Amended Complaint, briefing a motion to dismiss and a

  motion to strike class allegations, preparing for and attending a formal mediation

  session, negotiating the Settlement and Settlement documents, drafting and filing a

  motion for preliminary approval, preparing for and attending preliminary approval

  hearing, prosecuting the Settlement through to final approval, and communicating

  with Mr. Bowman and hundreds of other Settlement Class Members.

        30.    In addition to the work that has been performed to date, Class Counsel

  anticipate expending an additional $15,000 - $20,000 in billable time seeing the

  Settlement through to final approval, which by necessity includes continuing to

  field calls from Settlement Class Members looking to participate in the Settlement.

        31.    It is worth noting that Settlement Class Counsel have prosecuted this

  matter on a contingency basis without any guarantee of payment. At the risk of

  receiving nothing in return, Class Counsel initiated and diligently prosecuted this

  case, investing substantial time and resources. Also, the devotion of significant

  time to this case prevented the attorneys at my firm from working on other matters.

  We regularly take commercial litigation matters for which we are paid our hourly

  rates. By taking on this class action, we were necessarily unable to take on as much



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  hourly work.

        32.    Additionally, Plaintiff’s counsel’s hourly rates are below the market

  rate for comparable attorneys who practice in this space. In fact, my firm’s rates

  are below the hourly rates this Court approved for Settlement Class Counsel

  Steven Woodrow all the way back in July 2013. See Freeland v. RBS Citizens,

  N.A., No. 2-CV-10935-NGE-MKM, 2013 WL 12181696, at *3 (E.D. Mich. Sept.

  11, 2013) (Edmonds, J.) (approving $500/hour rate for attorney Woodrow and

  stating that, “[t]he Court finds the rates charged to be appropriate and reasonable

  and that the hourly rates are in line with comparable market rates.”). Other Courts

  have also approved higher hourly rates for Mr. Woodrow. See Wigod v. Wells

  Fargo Bank, N.A., Case No: 1:10-cv-2348 (N.D. Ill. 2014) (Bucklo, J.) (Wigod

  Dkt. 278) (approving hourly rate of $570 for attorney Woodrow in 2014); see also

  Schulken v. Washington Mutual Bank, No. 09-CV-02708-LHK (N.D. Cal.)

  (Schulken Dkt. 223) (Koh J.) (approving attorney Woodrow's former hourly rate of

  $500 in 2012).

        33.    Further, Settlement Class Counsel’s rates are comparable to those

  charged to private clients and have been approved by various courts. See Couch v.

  Southwest Airlines Co., 3:15-cv-00367-N (N.D. Tex. 2016) (Couch Dkt. 43)

  (approving Woodrow & Peluso's 2016 rates of $430 (for Woodrow) and $330 (for

  Peluso)).



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        34.    Class Counsel have diligently attempted to avoid duplication of effort

  and to delegate work efficiently.

  Class Counsel’s Out of Pocket Expenses

        35.    In addition to expending time on this case, Class Counsel incurred

  certain out-of-pocket expenses. These charges include our filing fees, service of

  process, the mediation, travel to the mediation and preliminary approval, and

  related expenses. Class Counsel’s expenses in this matter total $13,098.68.

        36.    Having reviewed the expenses, I attest that they are necessary and

  reasonable and were incurred as a result of the demands imposed by the litigation.

  None of the expenses are for lavish accommodations or for unnecessary items. The

  attorneys at our firm do not fly first class nor do we purchase lavish meals while

  traveling or working on the case. Further, we expended monies for these items

  without any guarantee of payment. As such, the Court should approve the

  requested expenses of $13,098.68. (See Expense Report, attached hereto as Exhibit

  2.)

  Class Counsel’s Experience and Opinion of the Settlement

        37.    Class Counsel have significant experience litigating nationwide class

  actions on behalf of consumers, including several matters specifically under the

  TCPA. My firm, along with co-counsel Stefan Coleman of the Law Offices of

  Stefan Coleman, P.A., have extensive experience litigating TCPA class actions and



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  have devoted substantial resources to the present litigation and will continue to do

  so throughout the settlement process. (See Firm Resumes, attached hereto as Group

  Exhibit 3.)

        38.     Class Counsel are respected in the legal community and are aware of

  the most recent developments in this area of the law. It is our opinion that the terms

  of the settlement are undeniably strong when viewed against other TCPA

  settlements reached to date. The strength is most evident when it is considered that

  the Class Members will share millions of dollars for having received phone calls

  that they didn’t necessarily want in addition to strong prospective relief designed to

  ensure such calls don’t reoccur in the future. When viewed in light of the potential

  defenses and the possibility of a prolonged and extensive litigation process, the

  relief obtained is demonstrably fair, reasonable, and adequate. Art Van would have

  argued, inter alia, that this case could never be certified as a class action, that its

  calls were not for telemarketing purposes, and that the law should not be construed

  so as to put the company on the hook for billions of dollars in arguably

  catastrophic damages.

        39.     Furthermore, given that any substantial judgment would potentially

  render Art Van insolvent, the road to obtaining a substantial recovery would be

  protracted and uncertain.

        40.     When considering all factors together, Class Counsel believes this



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  Settlement is in the best interests of the Settlement Class Members and is also fair,

  reasonable, and adequate.

        Further affiant sayeth not.

        Signed this 12th day in September 2018 in Denver, Colorado.

                                                /s/Steven L. Woodrow
                                                Steven L. Woodrow




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                          CASE NAME                          AMOUNT PER CLAIMANT

        Rose v. Bank of Am. Corp., 2014 WL               $20.00 to $40.00
        4273358 (N.D. Cal. Aug. 29, 2014)
        In re Jiffy Lube Int’l, Inc. Text Spam Litig.,   $12.97; or, $17.29 voucher
        11-md-2261 (S.D. Cal.)
        Kazemi v. Payless Shoesource, Inc., 09- cv-      $25.00 voucher
        5142 (N.D. Cal.)

        In re Capital One Telephone Consumer             $34.60
        Protection Act Litigation, 12 C 10064 MDL
        No. 2416 (N.D. Ill. 2015)

        Steinfeld v. Discover Financial Services, 12-    $48.69
        cv-1118 JSW (N.D. Cal.)

        Bellows v. NCO Fin. Sys., 2008 U.S. Dist.        $70.00
        LEXIS 13525 (S.D. Cal. 2008)
        Malta v. Fed. Home Loan Mortg. Corp., 10-        $84.82
        cv-1290 BEN (S.D. Cal.)

        Wilkins, et al. v. HSBC Bank Nevada, N.A., 14 $102.62
        C 190 (N.D. Ill.)

        Gutierrez v. Barclays Grp., 10-cv-1012 (S.D.     $100.00
        Cal.)
        Robles v. Lucky Brand Dungarees, Inc., 10-       $100.00
        cv-4846-MMC (N.D. Cal.)
        Kramer v. B2Mobile, 10-cv-2722 CW (N.D.          $100.00
        Cal.)
        Lanza v. Upscale Events by Mosaic, LLC, 13-      $150.00
        cv-80093 DMM (S.D. Fla.)

        Ellison v. Steven Madden, Ltd., 11-cv-5935       $150.00
        (C.D. Cal.)

        Bayat v. Bank of the West, C 13-2376 EMC         $151.00
        (N.D. Cal.)

        Weinstein v. The Timberland Co., et al., 06-     $150.00
        cv-454 (N.D. Ill.)
        Satterfield v. Simon & Schuster, Inc., 06-cv-    $175.00
        2893 (N.D. Cal.)
        Rojas v. Career Education Corporation, 10-       $200.00
        cv-5260 (N.D. Ill.)
        Lozano v. Twentieth Century Fox Film Corp.,      $200.00
        09-cv-6344 (N.D. Ill.)
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Woodrow & Peluso LLC
Expense Report Art Van

       Date      Type of Expense                                           Amount
    5/23/2017    Filing Fee                                          $           400.00
    12/21/2017   Mediation Fee                                       $        7,000.00
     1/8/2018    Roundtrip flights for mediation                     $         1,309.48
     1/8/2018    Hotels for mediation                                $          946.02
    1/18/2018    Airport parking (mediation)                         $          146.00
    1/18/2018    Taxis to and from airport                           $            86.85
     1/18/2018   Meals in Chicago for Mediation                      $           257.84
     1/18/2018   In-flight Wi-fi                                     $            10.00
     2/14/2018   Roundtrip flights for MTD Hearing                   $           594.60
     3/18/2018   Additional mediation charge                         $         1,688.44
     4/27/2018   Shipping courtesy copies of prelim approval brief   $            33.00
     7/9/2018    Roundtrip Flights prelim approval                   $           405.40
     7/10/2018   Rental car prelim approval                          $           171.05
     7/16/2018   Parking for prelim approval                         $            50.00
                                        Total                        $        13,098.68
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                     GROUP EXHIBIT 3
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                            WOODROW & PELUSO, LLC FIRM RESUME

          WOODROW & PELUSO, LLC (“Woodrow & Peluso” or the “firm”) is a plaintiff’s class
  action and commercial litigation firm based in Denver, Colorado. The firm files cases across the
  Country.

           Our attorneys have over a decade of experience successfully representing consumers and
  small businesses in matters nationwide. From litigation under the Telephone Consumer Protection
  Act, 47 U.S.C. § 227 et seq., to cases enforcing the rights of job applicants and employees under
  the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., to appeals of first impression, our lawyers
  have litigated and favorably resolved numerous legal disputes to the satisfaction of our clients. At
  Woodrow & Peluso, LLC, we take special pride in the quality of our work product and strive
  tirelessly to achieve the best results for every client. Descriptions of our three primary practice
  areas—(1) Consumer Class Actions, (2) Commercial Litigation, and (3) Appeals—and key
  personnel follow.

                                       OUR PRACTICE AREAS

  1.     CONSUMER CLASS ACTIONS

          The majority of the firm’s caseload focuses on consumer class actions. These cases include
  class actions alleging violations of statutes, such as the Fair Credit Reporting Act, the Telephone
  Consumer Protection Act, and the Truth-in-Lending Act, as well as class actions challenging
  systematic breaches of contract and advancing other common law theories.

         TCPA Class Actions

          Woodrow & Peluso attorneys have successfully litigated and settled numerous class actions
  challenging violations of the Telephone Consumer Protection Act. To date we have filed,
  prosecuted, and resolved using various settlement models TCPA cases against major corporations
  and entities including Rita's Italian Ice, Global Marketing Research Services, LKQ Corporation,
  J.B. Hunt, Altisource, Acurian, Price Self Storage, Local Lighthouse, Geekatoo, and the University
  of South Carolina, among others. Our firm’s attorneys have substantial experience prosecuting
  such claims, including class actions challenging the unlawful transmission of text messages, the
  sending of unlawful facsimiles, the placement of “robocalls” featuring a pre-recorded voice to
  residential landline phones, and the use of automatic telephone dialing systems, including
  predictive dialers, to call consumer cell phones.

         Notable TCPA cases and settlements include:

         • Wendell H. Stone & Co. v. LKQ Corporation, 16-cv-07648 (N.D. Ill) (Kennelly, J.)
         (granting final approval to all-in, non-reversionary, settlement fund of $3,266,500) (final
         approval granted May 16, 2017).

         • Martin et al. v. Global Marketing Research Services, Inc., 6:14-cv-1290-ORL-31-KRS
         (M.D. FL) (Woodrow & Peluso appointed co-lead Settlement Class Counsel in
         settlement creating $10 million fund for class of 688,500 cellphone users) (final approval
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         granted November 4, 2016);

         • Mendez v. Price Self Storage Management, Inc., 3:15-cv-02077-AJB-JLB (S.D. CA)
         (Woodrow & Peluso appointed co-lead Settlement Class Counsel in TCPA settlement
         providing option of $750 cash or $1,100 in storage certificates) (final approval granted
         August 23, 2016);

         • Sherry Brown and Ericka Newby v. Rita's Water Ice Franchise Company, LLC,
         2:15-cv-03509-TJS (E.D. PA) ("all in" non-reversionary $3,000,000 settlement fund for
         text messages) (final approval granted March 20, 2017);

         • Morris et al v. SolarCity, Inc. 3:15-cv-05107 (N.D. CA) (JPA with counsel on $15
         million common fund TCPA settlement).

         • Gergetz v. Telenav, Inc. 3:16-cv-04261 (N.D. CA) (“all-in” non-reversionary          $3.5
         million fund for text messages (final approval granted on September 6, 2018).

          Further, while a Partner with his prior law firm, Woodrow & Peluso attorney Steven
  Woodrow was appointed interim co-lead class counsel in a TCPA class action against Nationstar
  Mortgage, LLC (see Jordan et al v. Nationstar Mortgage LLC, 3:14-cv-00787-WHO) and led
  TCPA litigation that resolved favorably against Bankrate Inc., and Carfax.com. Mr. Woodrow
  was also involved in the TCPA settlement reached in Weinstein v. The Timberland Co. et al.
  (N.D. Ill.), a text messaging class action featuring 40,000 unauthorized messages, and was part
  of the appellate strategy team that secured the landmark decision in Satterfield v. Simon &
  Schuster, Inc., 569 F.3d 946 (9th Cir. 2009), the first federal appellate decision to affirm that text
  messages are covered as “calls” under the TCPA.

         FCRA Class Actions

          The second sub-focus within the firm’s class action practice consists of cases under the
  Fair Credit Reporting Act (“FCRA”), which regulates the procurement and use of consumer
  reports by employers when they make hiring/firing/pay decisions. To date, the firm has
  successfully represented clients in putative class actions against Terminix, ServiceMaster,
  TrueBlue Inc./Labor-Ready Mid-Atlantic, FedEx, Tyler Staffing Services, Inc., Great Lakes
  Wine & Spirits, Freeman Webb, Inc., and others. This includes Woodford v. World Emblem
  1:15-cv-02983-ELR, an FCRA settlement providing between $315 and $400 to claimants (final
  approval granted January 23, 2017).

         Banking and Financial Institutions Class Actions

         Our attorneys have substantial experience representing consumers in class action litigation
  involving national banking associations and other financial institutions. Meaningful
  representations include:

                 •       Schulken v. Washington Mut. Bank, No. 09-CV-02708-LHK, 2012 WL
                         28099, at *15 (N.D. Cal. Jan. 5, 2012). Attorney Steven Woodrow secured
                         prior firm’s appointment as Class Counsel from Judge Lucy Koh in class


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                        action challenging JPMorgan Chase Bank, N.A.’s suspension of former
                        WaMu home equity line of credit accounts. Case settled with Mr.
                        Woodrow’s appointment as co-lead settlement class counsel.

                 •      In re JPMorgan Chase Bank, N.A. Home Equity Line of Credit Litigation,
                        MDL No. 2167. Attorney Steven Woodrow helped secure transfer by the
                        Judicial Panel on Multidistrict Litigation to the Northern District of Illinois
                        and appointment of prior firm as interim class counsel. Attorney Woodrow
                        also negotiated and was also appointed co-lead settlement class counsel in
                        settlement projected to restore between $3 billion - $5 billion in credit to
                        affected borrowers in addition to cash payments.

                 •      Hamilton v. Wells Fargo Bank, N.A., 4:09-cv-04152-CW (N.D. Cal.).
                        Attorney Steven Woodrow served as co-lead settlement counsel in class
                        action challenging Wells Fargo’s suspensions of home equity lines of credit.
                        Nationwide settlement restored access to over $1 billion in credit and
                        provided industry leading service enhancements and injunctive relief.

                 •      In re Citibank HELOC Reduction Litigation, 09-CV-0350-MMC (N.D.
                        Cal.). Attorney Steven Woodrow was appointed interim co-lead counsel
                        and settlement class counsel in class actions challenging Citibank’s
                        suspensions of home equity lines of credit. The settlement was estimated to
                        have restored over $650,000,000 worth of credit to affected borrowers.

                 •      Vess v. Bank of America, N.A. 10cv920–AJB(WVG) (S.D. Cal.). Attorney
                        Steven Woodrow negotiated class action settlement with Bank of America
                        challenging suspension and reduction of home equity lines of credit.

                 •      Wigod v. Wells Fargo, No. 10-cv-2348 (N.D. Ill.). Steven Woodrow
                        secured the first appellate decision in the country recognizing the right of
                        homeowners to sue under state law to enforce HAMP trial plan agreements.
                        Attorney Steven Woodrow was appointed co-lead settlement counsel
                        providing loan modifications and cash payments to affected borrowers.

         General Consumer Protection Class Actions

          Woodrow & Peluso attorneys have additionally successfully prosecuted and resolved
  countless class action suits against other companies for a range of consumer protection issues. For
  example, Woodrow & Peluso filed the first class action in the Country to challenge the marijuana
  industry’s use of certain allegedly dangerous fungicides and pesticides and were the first lawyers
  to bring class actions (against the Colorado Rockies Baseball Club and Kroenke Sports &
  Entertainment, LLC) seeking to enforce the Colorado Consumer Protection Act, § 6-1- 718 et seq.,
  which prohibits owners of entertainment venues from imposing restrictions on the resale of tickets.
  The firm has also brought and litigated class actions against hospitals for their use of
  “chargemaster” billing rates and are presently engaged in litigation against Southwest Airlines
  related to its “Companion Pass” program.



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          Woodrow & Peluso LLC has also brought claims against major food manufacturers and
  distributors for falsely advertising certain products as “All Natural” and “Made in U.S.A.” Our
  attorneys also have experience litigating class claims regarding missing or misappropriated
  “bitcoins.” Woodrow & Peluso also brought the first class action in Colorado against cannabis
  growers for their use of unapproved and harmful pesticides.

  2.     COMMERCIAL LITIGATION

          As small business owners, we understand and appreciate the challenges that new
  companies face as they strive to make headway in the market. Our attorneys regularly counsel
  small to medium-sized businesses and have represented such companies in a wide range of general
  commercial litigation matters including partnership and business disputes, breaches of contracts
  and term sheets, and claims charging company managers and members of breach of fiduciary duty,
  breach of contract, fraud, and fraudulent/preferential transfers. We regularly advise clients on
  matters and contracts involving millions of dollars, and our attorneys have successfully represented
  businesses and other entities in mediations, arbitrations, and trial.

  3.     APPEALS

          Our attorneys have substantial experience handling appeals at both the state and federal
  level. Representative appeals worked on predominately by our attorneys include:

                 •       Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012). Attorney
                         Steven Woodrow briefed and argued this appeal resulting in the first
                         federal appellate decision holding that banks may be sued under state law
                         for violations of the federal government’s Home Affordable Modification
                         Program. The opinion has been cited over 1,300 times by courts, litigants,
                         and commentators throughout the Country and is widely regarded as the
                         leading authority on the rights and obligations of HAMP servicers and
                         borrowers.

                 •       Robins v. Spokeo, 742 F.3d 409 (9th Cir. 2014). Attorney Steven Woodrow
                         argued a federal appeal reversing dismissal and upholding consumer rights
                         under the Fair Credit Reporting Act against one of the nation’s largest
                         online data aggregators regarding whether a plaintiff who does not suffer
                         tangible pecuniary loss may still show legal harm to satisfy Article III
                         standing. The case was reversed on writ of certiorari to the United States
                         Supreme Court (argued by different attorneys).

                 •       Equity Residential Properties Mgmt. Corp. v. Nasolo, 364 Ill. App. 3d 26,
                         28, 847 N.E.2d 126, 128 (2006). Attorney Steven Woodrow helped author
                         the winning brief in this landmark landlord/tenant appeal defining the
                         requirements for constructive service and due process for Illinois evictions
                         under the Illinois Forcible Entry and Detainer Act. 735 ILCS 5/9–107 et
                         seq.




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                 •       Fuentes v. Kroenke Sports & Entertainment, LLC, Case No. 2014CV32619.
                         Woodrow & Peluso appealed grant of summary judgment in favor of
                         defendant finding that the Colorado Consumer Protection Act, 6-1-701 et
                         seq. does not allow for class actions. Case settled prior to the resolution of
                         the appeal.

                                          OUR ATTORNEYS

         At present, our firm consists of 3 attorneys whose relevant experience is set forth below.

  STEVEN LEZELL WOODROW has over a decade of experience advising consumers and small
  businesses in high stakes litigation.

  Steven briefed and delivered the winning argument in the landmark federal appellate court decision
  Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012) holding banks accountable for
  violations of the federal Home Affordable Modification Program. The opinion is widely regarded
  as the leading authority on the rights and obligations of HAMP servicers and borrowers. Steven
  also delivered the winning oral argument in Robins v. Spokeo, 742 F.3d 409 (9th Cir. 2014), a
  federal appeal upholding consumer rights under the Fair Credit Reporting Act against one of the
  nation’s largest online data aggregators. The case and the Supreme Court decision that ultimately
  reversed it (and now the Ninth Circuit's decision to re-affirm its prior finding of Article III
  standing) present some of the most widely-litigated issues in class action practice today.

  Mr. Woodrow was appointed lead class counsel in litigation against JPMorgan Chase Bank,
  N.A. challenging the bank’s 4506-T HELOC suspension program and was appointed lead
  settlement class counsel in other HELOC suspension litigation against Wells Fargo Bank, N.A.,
  Citibank, N.A., Chase, Bank of America, N.A. and PNC Bank.

  Mr. Woodrow also led the legal team that secured a preliminary injunction freezing the U.S. assets
  of Mark Karpeles, the former head of the failed Bitcoin exchange known as Mt. Gox, as well as
  an order compelling Mr. Karpeles to personally appear in the United States for a
  deposition in connection with Mt. Gox’s Chapter 15 bankruptcy case in Dallas Texas.

  Steven has also litigated putative class actions under the Telephone Consumer Protection Act, and
  courts have appointed him to serve as class counsel in nationwide settlements against cellphone
  companies, aggregators, and mobile content providers related to unfair billing practices, including
  Paluzzi v. Cellco Partnership, Williams v. Motricity, Inc., and Walker v. OpenMarket Inc.

  Steven has also served as an Adjunct Professor of Law at the Illinois Institute of
  Technology Chicago-Kent College of Law, where he co-taught a seminar on class actions. Prior
  to founding Woodrow & Peluso, Steven was a partner at prominent class action technology firm
  in Chicago.

  Before that, he worked as a litigator at a Chicago boutique where he tried and arbitrated a range of
  consumer protection, landlord tenant, and real estate matters.

  EDUCATION


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  Chicago-Kent College of Law, J.D., High Honors, 2005
  The University of Michigan-Ann Arbor, B.A, Political Science, with Distinction, 2002

  ADMISSIONS
  State of Illinois (2005)
  State of Colorado (2011)
  United States Court of Appeals for the Seventh Circuit
  United States Court of Appeals for the Ninth Circuit
  United States District Court, Northern District of Illinois
  United States District Court, District of Colorado
  United States District Court, Eastern District of Michigan
  United States District Court, Western District of Michigan
  United States District Court, District of New Mexico

  PATRICK H. PELUSO specializes in plaintiff-side consumer class actions.

  With a true passion for protecting consumers and their rights, Patrick aggressively pursues class
  action lawsuits against companies who violate those rights.

  Through these lawsuits, he is able to force law-breaking companies to compensate the people they
  have harmed and correct their future practices. Patrick possesses the skills, strategic vision, and
  moxie to achieve excellent results for the people he represents. He has experience working with a
  broad range of consumer protection laws including the Fair Credit Reporting Act, the Telephone
  Consumer Protection Act, and various state consumer protection and consumer fraud statutes.

  Patrick received his law degree from the University of Denver, Sturm College of Law where he
  was Editor-in-Chief of an academic journal. During law school, Patrick worked with a leading
  consumer class action law firm and held legal internships with a federal administrative judge and
  the legal department of a publicly traded corporation. Before law school, Patrick attended New
  York University, where he graduated with a B.S. and played on the school’s club baseball team.

  Patrick grew up in Baltimore, Maryland and now resides in Denver, Colorado.

  EDUCATION
  University of Denver, J.D.
  New York University, B.S.

  ADMISSIONS
  State of Colorado (2014)
  United States District Court, District of Colorado
  United States District Court, District of New Mexico
  United States District Court, Eastern District of Michigan
  United States District Court, Northern District of Illinois
  United States District Court, Western District of Wisconsin




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  TAYLOR TRUE SMITH focuses his practice on consumer class actions.


  Throughout his life and career, Taylor has developed a passion for consumer advocacy. By
  pursuing class actions on behalf of consumers, Taylor can give consumers not just a voice but
  also a seat at the bargaining table.

  Taylor received his law degree from the Creighton University School of Law. During law school,
  he interned with the South Dakota Supreme Court. Prior to beginning law school, Taylor
  attended South Dakota State University where he earned a B.S. in Economics.

  Taylor was raised in Fort Pierre, South Dakota and currently resides in Denver, Colorado.

  Education
  Creighton University School of Law, J.D. Cum Laude 2017
  South Dakota State University, B.S. Magna Cum Laude 2013

  Admissions
  State of Colorado (2017)
  United States District Court, District of Colorado
  United States District Court, Eastern District of Michigan
  United States District Court, Northern District of Illinois




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